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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

UNITED STATES OF AMERICA,                      )
                                               )
       Plaintiff,                              )               Case No. 4:10cr0291 JCH
vs.                                            )
                                               )
ANTHONY JOSEPH ADEWUNMI,                       )
CHRISTIAN JOEL JUAN, and                       )
PATRICIA DENISSE OLMOS,                        )
                                               )
       Defendants.                             )
                                               )

                                MEMORANDUM AND ORDER

       This matter is before the Court on the Motion of the United States to Reconsider or Clarify

Docket Text Order (Doc. No. 78). This matter is fully briefed and ready for disposition.

       Upon reconsideration and the briefing of the parties, the Court grants the Motion of the

United States to Reconsider or Clarify Docket Text Order (Doc. No. 78) and denies Defendant’s

Motion to Exclude Evidence of Missouri Real Estate Commission Settlement Agreement (Doc. No.

39). Under Rule 408, statements made in compromise negotiations are admissible “when offered in

a criminal case and the negotiations related to a claim by a public office or agency in the exercise of

regulatory, investigative, or enforcement authority.” Fed.R.Evid. 408. The Court finds that the Joint

Stipulation of Facts entered into between Defendants and the Missouri Real Estate Commission falls

within this provision. Further, the Court finds that Fed.R.Evid. 403 does not bar the admission of

the Joint Stipulation of Facts under the present circumstances. The United States has agreed to




                                                   1
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redact the Settlement Agreement to prevent unduly prejudicing Defendants.1



                                         CONCLUSION

Accordingly,

       IT IS HEREBY ORDERED that Motion of the United States to Reconsider or Clarify

Docket Text Order (Doc. No. 78) is GRANTED.

       IT IS FURTHER ORDERED that Defendant’s Motion to Exclude Evidence of Missouri

Real Estate Commission Settlement Agreement (Doc. No. 39) is DENIED.

Dated this 16th day of December, 2010.



                                                 /s/ Jean C. Hamilton
                                                 UNITED STATES DISTRICT JUDGE




       1
        The Court notes that the United States has agreed to “redact all parts of the Settlement
Agreement not included in the ‘Joint Stipulation of Facts.’” (Doc. No. 36, p. 5). Additional
redaction also may be necessary, such as excluding “Count” from the text of the Joint Stipulation
of Facts.

                                                2
